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Prob I 2 ( 10/09)
VAE (rev. 5/ 17)
                                       UNITED STATES DISTRICT COURT
                                                  for the
                                       EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Jose F. Paz                                              Docket No. I: l 6-P0-2799

                                                  Petition on Probation

        COMES NOW Kenneth G. Orsino, PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Jose F. Paz, who was placed on supervision by the Honorable John F.
Anderson, United States Magistrate Judge sitting in the Court at Alexandria, Virginia, on the lfil day of
December, 2016, who fixed the period of supervision at eighteen (18) months, and imposed the general terms
and conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:


                                                      Sec Page 2.




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                      Sec Attachmcnt(s)


PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision shou ld not be revoked.


Returnable Date:          .)w\\ill ) \ ,?c ,..,
                                   \

                     ORDER OF COURT                                I declare under penalty of perjury that the foregoing
                                                                   is true and correct.
Cons~ and ordered this                 2'"P""              day
of ~~.!.                            ZCI)      ,                    Executed on June 27. 2017
and ordered filed and made a part o~ds in the                       't/.   /-r       •    Kenneth G. Orsino
                                                                     ~ ,11. () ~          2017.06.27 09:05:42 -04"00'
above case.                       is/ _--'~:111111111
                                              ,......=--
                    John F. Anderson                               Kenneth G. Orsino
                    United States Magistrate Judge                 U.S. Probation Officer
John F. Anderson                                                   (703) 366-2109
United States Magistrate Judge
                                                                   Place Manassas, Virginia




TO CLERK'S OFFICE
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Petition on Probation
Page2
RE: Paz, Jose F.

OFFENSE: Driving Under the Influence, in violation of Title 32 CFR 234.l 7(c)(l )(i)

SENTENCE: Eighteen (18) months supervised probation with the following special conditions: I) the
defendant shall participate in and successfully complete an Alcohol Safety Action Program or other alcohol
treatment program as deemed appropriate by the probation office; 2) the defendant may not operate a motor
vehicle anywhere in the United States without a valid license. If the defendant obtains a valid license, the
defendant may not operate a motor vehicle anywhere in the United States during the period of probation except
(a) to and from work, as incident to or required by work, (b) to and from court, the probation office, and alcohol
treatment program, and (c) to and from NA/AA meetings as approved by the probation officer, and (d) to and
from place of confinement; 3) the defendant shall serve a period of five (5) days incarceration with the Bureau
of Prisons, which may be served on weekends or other intermittent times as deemed appropriate by the
probation office; 4) the defendant may not operate a motor vehicle unless it is equipped with an alcohol-
detecting ignition interlock system approved by the probation officer; and 5) the defendant shall pay a $200.00
fine, $30.00 processing fee, and a $10.00 special assessment as to 6495884 to be paid by March I, 2017.

PROBATION VIOLATION: On June 7, 2017, a letter was sent to Your Honor recommending no action be
taken after the defendant submitted a urine screen on May 18, 2017, that tested positive for Heroin, and he
failed to pay his fine, processing fee, and special assessment by March 1, 2017. Your Honor agreed with this
recommendation on June 7, 2017.

ADJUSTMENT TO SUPERVISION: The defendant has been cooperative and has appeared for his scheduled
appointments. Mr. Paz has a stable residence at his parents' residence but has requested permission to relocate
to Maryland to reside with his girlfriend. The defendant also has maintained steady employment. Mr. Paz
completed his five-day jail sentence on March 11, 2017, and paid his monetary penalties in full on June 21,
2017. The defendant is also currently enrolled in the Bull Run Alcohol Safety Action Program. The
defendant's license is suspended, and he reported he does not operate a motor vehicle. A recent record check
was negative for any new law violations.

VIOLATIONS: The following violations are submitted for the Court's consideration.

CONDITION 7:                         USE OF OXYCODONE AND MORPHINE.

On June 16, 2017, the defendant submitted a urine specimen that tested positive for opiates. This officer spoke
to the defendant on June 21, 2017, and he admitted to using oxycodone on June 14, 2017 and on June 18, 2017.
However, the urine screen was confirmed positive for morphine on June 26, 2017, by Alere Toxicology in
Richmond, Virginia.

KGO/iyh




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                                                                                                       VAE (rev. 5117)
